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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,                  )
                                              )
09               Plaintiff,                   )
                                              )               Case No. CR06-425-MJP
10         v.                                 )
                                              )
11   JOVANY GUADALUPE ZAVALA-MEDRANO, )                       DETENTION ORDER
                                              )
12               Defendant.                   )
     ________________________________________ )
13

14
     Offense charged:
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            Count 1: Conspiracy to Distribute Methamphetamine in violation of 21 U.S.C. §§
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     841(a)(1), 841(b)(1)(A) and 846.
17
            Count 2: Distribution of Methamphetamine in violation of 21 U.S.C. §§ 841(a) and
18
     841(b)(1)(C) and 18 U.S.C. § 2.
19
     Date of Detention Hearing: December 12, 2007.
20
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
21
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
22
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
23
            (1)     Defendant is a citizen of Mexico.
24
            (2)     Defendant has stipulated to detention, but reserves the right to contest his
25
     continued detention if there is a change in circumstances.
26

     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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01          (3)    There appear to be no conditions or combination of conditions other than detention

02 that will reasonably assure the defendant’s appearance at future Court hearings.

03          IT IS THEREFORE ORDERED:

04          (1)    Defendant shall be detained pending trial and committed to the custody of the

05                 Attorney General for confinement in a correctional facility separate, to the extent

06                 practicable, from persons awaiting or serving sentences or being held in custody

07                 pending appeal;

08          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

09                 counsel;

10          (3)    On order of a court of the United States or on request of an attorney for the

11                 government, the person in charge of the corrections facility in which defendant is

12                 confined shall deliver the defendant to a United States Marshal for the purpose of

13                 an appearance in connection with a court proceeding; and

14          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

15                 counsel for the defendant, to the United States Marshal, and to the United States

16                 Pretrial Services Officer.

17
                   DATED this 13th day of December, 2007.


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                                                          JAMES P. DONOHUE
20                                                        United States Magistrate Judge
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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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